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                      EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- X
                                                          :
                                                          :        Chapter 11
In re                                                     :
                                                          :        Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,1                            :
                                                          :        Jointly Administered
                                   Debtors.               :
                                                          :
                                                                   RE: D.I. ______
                                                          :
---------------------------------------------------------X


                       ORDER APPROVING ALLOCATION PROTOCOL


        Upon the motion dated April 25, 2011 (the “Motion”),2 of Nortel Networks Inc. and

certain of its affiliates, as debtors and debtors in possession in the above-captioned cases (the

“U.S. Debtors”), and the Official Committee of Unsecured Creditors (the “Committee” and

together with the U.S. Debtors, the “Movants”), for entry of an order, as more fully described in

the Motion, approving an Allocation Protocol pursuant to the Interim Funding and Settlement

Agreement, dated as of June 9, 2009 (the “IFSA”), and granting them such other and further

relief as the Court deems just and proper; and adequate notice of the Motion having been given

as set forth in the Motion; and it appearing that no other or further notice is necessary; and the

Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28


1
          The U.S. Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
identification number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel
Altsystems Inc. (9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073),
Qtera Corporation (0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846),
Nortel Networks Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.)
Corporation (3826), Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286) and
Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors
can be found in the Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.
2
        Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.
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U.S.C. §§ 157 and 1334 and the terms of the IFSA and the U.S. IFSA Order; and the Court

having determined that consideration of the Motion is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief requested in the Motion pursuant to 11 U.S.C. §§ 105

and 363, and that such relief is in the best interests of the U.S. Debtors, their estates, their

creditors and the parties in interest; and upon the record in these proceedings; and after due

deliberation;

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED.

        2.      The Allocation Protocol in the form attached as Exhibit B to the Motion is

approved.

        3.      The determination regarding how to allocate the Sale Proceeds among the Selling

Debtors and the Non-Filed Entities shall be made in accordance with the Allocation Protocol.

        4.      The Movants are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

        5.      Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure to

the contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its

entry, (ii) the Movants are not subject to any stay in the implementation, enforcement or

realization of the relief granted in this Order, and (iii) the Movants may, in their discretion and

without further delay, take any action and perform any act authorized under this Order.

        6.      Nothing in this Order or the Allocation Protocol shall supersede or constitute a

waiver of any rights and obligations under the IFSA.




                                                   2
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       7.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: _______________, 2011
       Wilmington, Delaware                         _____________________________________
                                                    THE HONORABLE KEVIN GROSS
                                                    UNITED STATES BANKRUPTCY JUDGE




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